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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-744V
                                         UNPUBLISHED


    AS, by her mother, PATRICIA                               Chief Special Master Corcoran
    TAYLOR,
                                                              Filed: March 4, 2020
                         Petitioner,
    v.                                                        Special Processing Unit (SPU);
                                                              Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                   Influenza (Flu) Vaccine; Guillain-
    HUMAN SERVICES,                                           Barre Syndrome (GBS)

                        Respondent.


Michael Adly Baseluos, Baseluos Law Firm, PLLC, San Antonio, TX, for petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES 1

        On May 20, 2019, Patricia Taylor, Petitioner, filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act”) on behalf of her minor child, AS. Petitioner alleges that AS
suffered Guillain-Barre Syndrome (“GBS”) as a result of an influneza (“flu”) vaccination
on October 14, 2017. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On November 8, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for GBS. On March 3, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded
compensation of $110,000.00 for actual and projected pain and suffering, and

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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$76,651.94 to satisfy a Texas Medicaid lien. Proffer at 1-2. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as
a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award compensation as
follows:

    A. A lump sum payment of $110,000.00 representing compensation for pain
       and suffering, in the form of a check payable to petitioner as
       guardian/conservator of A.S., for the benefit of A.S. No payment shall be
       made until petitioner provides respondent with documentation establishing
       that she has been appointed guardian/conservator of A.S.

    B. A lump sum payment of $76,651.94, representing compensation for
       satisfaction of the Texas Medicaid lien, payable jointly to petitioner and

                                   TMHP TPL – Tort Department
                                     Attn: Tort Receivables
                                         P.O. Box 202948
                                     Austin, TX 78720-2948
                                       Tel: 1-800-925-9126
                                   Case ID #: 810303725131218

        Petitioner agrees to endorse this payment to Texas Medicaid.

Id. at 2. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS
____________________________________
                                        )
A.S., a minor by her mother,            )    No. 19-744V
PATRICIA TAYLOR,                        )
                                        )    Chief Special Master Brian H. Corcoran
               Petitioner,              )    ECF
                                        )
v.                                      )
                                        )
SECRETARY OF HEALTH AND                 )
HUMAN SERVICES,                         )
                                        )
               Respondent.              )
                                        )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On October 31, 2019, respondent filed a Rule 4(c) Report conceding that petitioner is

entitled to vaccine compensation on behalf of minor A.S., for A.S.’s Guillain-Barre Syndrome

(“GBS”) suffered following receipt of an influenza (“flu”) vaccination on October 14, 2017. On

November 8, 2019, the Court issued a Ruling on Entitlement, adopting respondent’s

recommendation. Respondent now proffers the following regarding the amount of compensation

to be awarded, which encompass all elements of damages petitioner would be entitled to under

42 U.S.C. § 300aa-15(a). 1

    I.      Compensation for Vaccine Injury-Related Items

         A. Pain and Suffering

         Respondent proffers that A.S. should be awarded $110,000.00 in actual and projected

pain and suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.




1
 Should A.S. die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief.
                                                                                                   1
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         B. Texas Medicaid Lien

         Respondent proffers that A.S. should be awarded funds to satisfy a Texas Medicaid lien

in the amount of $76,651.94, which represents full satisfaction of any right of subrogation,

assignment, claim, lien, or cause of action that Texas may have against any individual as a result

of any Medicaid payments Texas has made to or on behalf of A.S. from the date of her eligibility

for benefits through the date of judgment in this case as a result of her vaccine-related injury

suffered on or about October 14, 2017, under Title XIX of the Social Security Act.

   II.      Form of the Award

         The parties recommend that the compensation provided to A.S. should be made through

lump sum payments as described below, and request that the special master’s decision and the

Court’s judgment award the following:

   A. A lump sum payment of $110,000.00 representing compensation for pain and suffering,

in the form of a check payable to petitioner as guardian/conservator of A.S., for the benefit of

A.S. No payment shall be made until petitioner provides respondent with documentation

establishing that she has been appointed guardian/conservator of A.S.

   B. A lump sum payment of $76,651.94, representing compensation for satisfaction of the

Texas Medicaid lien, payable jointly to petitioner and

                                      TMHP TPL – Tort Department
                                         Attn: Tort Receivables
                                            P.O. Box 202948
                                        Austin, TX 78720-2948
                                          Tel: 1-800-925-9126
                                      Case ID #: 810303725131218

Petitioner agrees to endorse this payment to Texas Medicaid.




                                                                                                   2
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   III.      Guardianship

          No payments shall be made until petitioner provides respondent with documentation

establishing that she has been appointed as the guardian/conservator of A.S. If petitioner is not

authorized by a court of competent jurisdiction to serve as guardian/conservator of A.S., any

such payment shall be made to the party or parties appointed by a court of competent jurisdiction

to serve as guardian/ conservator of A.S. upon submission of written documentation of such

appointment to the Secretary.



                                                     Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     ALEXIS B. BABCOCK
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                     /s/ Kyle E. Pozza__________
                                                     KYLE E. POZZA
                                                     Trial Attorney
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
                                                     P.O. Box 146
                                                     Benjamin Franklin Station
                                                     Washington, D.C. 20044-0146
                                                     Phone: (202) 616-3661
                                                     Kyle.Pozza@usdoj.gov

Dated: March 4, 2020



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